 

1111 WILN’ ic _ _
AT G

Pu_rsuant to Fedetal. Rule of Criminal Proc-edu!‘e 10(b), defendant John` l `_
ames the following
1. I waive my right to be present at my arraigmnent.

2. I affirm that l have received a copy of the indictment

3. I affirm that my plea to all charges is not gmle

Da'ted:- April ’9‘ , 2019 Qm

 

Wilson

D*ated: April 12, 2019 /s/ Michael Kendall
Michael Kendall (BBO # 544866)

WHITE & CASE LLP

75 State Street

Boston, MA 02109-1814
Telephone: (617) 979~9310
michael.kendall@whitecase.com

' 7 A,pnl 1""2,20.:1€9' /s./ An W E. Tom
Andrew Tomback (pr'o hac vxce)
W}HTE&¢<__:ASE.LLP-
1221 emma-of

 

z I hereby eerofy that the-foregoing document is being filed enf-the
through the E`CF system, which will send true copies to each parti°

/ Michael Ke l
Michael Kenda_]l

 

